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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

IARNACH TECHNOLOGIES LTD.,

                              Plaintiff,
v.

CHARTER COMMUNICATIONS, INC.,                      Civil Action No. 2:24-cv-00230-JRG
CHARTER COMMUNICATIONS HOLDING
COMPANY, LLC, CHARTER                              JURY TRIAL DEMANDED
COMMUNICATIONS OPERATING, LLC,
SPECTRUM MANAGEMENT HOLDING
COMPANY, LLC, and SPECTRUM GULF
COAST, LLC,

                              Defendants.

       ORDER RESOLVING PLAINTIFF IARNACH TECHNOLOGIES LTD.’S
       MOTION TO COMPEL DOCUMENT PRODUCTION UNDER P. R. 3-4(a)


       Before the Court is Plaintiff Iarnach Technologies Ltd.’s Motion to Compel Document

Production Under P.R. 3-4(a), Dkt. No. 87 (the “Motion”). To resolve the Motion, the parties have

consented to a Court Order requiring the following:

       •   By no later than January 10, 2025, defendants will produce representative configuration

           files in their possession, custody, or control for OLTs from each third-party vendor that

           provides such equipment to defendants;

       •   By no later than January 10, 2025, defendants will produce representative configuration

           files in their possession, custody, or control for ONUs from each third-party vendor that

           provides such equipment to defendants;

       •   By January 31, 2025, defendants will substantially complete their technical document

           production, including without limitation documents sufficient to show in detail the

           operation, configuration, and implementation of the accused ONU, OLT and DOCSIS
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           back-end equipment (including hardware and software) necessary for deploying DPoE

           v.2 compliant networks to defendants’ customers, which are in defendants’ possession,

           custody, or control.

Accordingly, the Court hereby ORDERS the Charter defendants to produce the aforementioned

documents per the dates above.
